Case: 17-2171
         Case 1:11-cr-10187-PBS
                Document: 37 Page:
                                Document
                                   1   Date
                                         948 Filed:
                                               Filed08/16/2018
                                                     08/16/18 Page
                                                                Entry
                                                                   1 ofID:
                                                                        1 6191261




                United States Court of Appeals
                                For the First Circuit
                                    _____________________

 No. 17-2171

                                       UNITED STATES,

                                            Appellee,

                                                v.

 ALDO FERNANDO GUERRERO-CLAVIJO, a/k/a Carlos Fernando Guerrero, a/k/a Rolo, a/k/a
                               Zeus,

                                     Defendant, Appellant.
                                     __________________

                                             Before

                                      Howard, Chief Judge,
                              Torruella and Kayatta, Circuit Judges.
                                      __________________

                                          JUDGMENT

                                    Entered: August 16, 2018

         Appellant Aldo Fernando Guerrero-Clavijo appeals from the denial of a motion captioned
 "Petitioner File 3582(c)(2) Under 782 Amendment to Reconsider His Denial Under 2S1.1."
 Appellant filed the motion nearly two years after the district court's denial of his 18 U.S.C.
 § 3582(c) motion for reduction of sentence pursuant to Amendment 782 to the guidelines. We
 need not determine whether appellant's motion for reconsideration was cognizable as a general
 matter. As explained in this court's judgment of June 23, 2016, in appeal 16-1536, the district
 court did not err by denying § 3582(c) relief. The government's motion for summary disposition
 is GRANTED, and the district court's denial of the motion is AFFIRMED.

                                                      By the Court:

                                                      /s/ Margaret Carter, Clerk

 cc:
 Cynthia A. Young, Nathaniel R. Mendell, Neil J. Gallagher Jr., Jennifer H. Zacks,
 Aldo Fernando Guerrero-Clavijo
